Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 1 of 10

WILMERHALE
June 9, 2023 John J. Butts
By ECF +1617 526 6515 (t)

+1617 526 5000 (f)
john.butts@wilmerhale.com

Hon. Jed S. Rakoff

United States District Court

Southern District of New York

Daniel Patrick Moynihan United States Courthouse
500 Pearl St., New York, NY 10007-1312

Re: Gov't of the U.S. Virgin Islands v. JPMorgan Chase Bank, N.A., Case No. 1:22-
cv-10904-JSR (S.D.N-Y.) — Opposition to Motion Seeking Leave to Reopen
Depositions

Dear Judge Rakoff:

On behalf of JPMorgan Chase Bank, N.A. (“JPMC’”), the Government of the United States
Virgin Islands’ (“US VT’) misleadingly titled “Motion seeking leave to reopen depositions” should
be denied. It is a request to take new document discovery, depose a witness that was not previously
deposed, and to re-open two depositions on specious grounds.

Underscoring how thin their case is after taking extensive discovery, USVI has turned to
litigating the litigation, falsely claiming that JPMC did not produce documents quickly enough.
The reality is that JPMC moved mountains to respond to never-ending, unfocused discovery
requests from two plaintiffs. Altogether, JPMC has responded to 74 document requests from USVI
and 59 document requests from Doe, as well as near-constant informal requests from both
plaintiffs, scores of interrogatories, and hundreds of requests for admission. As part of discovery,
JPMC scoured the emails of nearly 60 custodians, many of which had time periods of more than
20 years. Also, to accommodate depositions on the schedule Plaintiffs desired, JPMC made over
70 individual productions—often more than one a day—in which it produced nearly one million
pages and over 82,000 documents.

It is because of Plaintiffs’ unending requests—USVI served six sets of document requests
and Doe served three sets—that a small fraction of JPMC’s production (approximately 2% of the

Wilmer Cutler Pickering Hale and Dorr tip, 60 State Street, Boston, Massachusetts 02109

Beijing Berlin Boston Srussels Denver Frankfurt London Los Angeles New York Palo Alto San Francisco Washingtor
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 2 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 2

total documents produced) came in the final week of discovery.! There was, however, no prejudice
to USVI. JPMC worked diligently to prioritize productions based on depositions so that USVI
and Doe had a deponent’s custodial documents prior to a deposition. Now, USVI ignores JPMC’s
efforts and tries to manufacture issues in the hope of getting a do-over to try to fill in the many
gaps in its case or to change strategic decisions it made during discovery. There is no reason to
give USVIa second bite at the apple. Discovery in the USVI case is over.

I. Background

In response to hyperbole on a telephone application about perceived discovery slights, the
Court permitted plaintiffs, if they “believe[d] that a document was produced in an untimely
fashion, and that they would have confronted a witness at a deposition with that document if it
were produced in a more timely fashion,” to submit a letter application “seeking to recall the
pertinent witness.” The Court further noted that, if any such “re-deposition” of a witness were
granted, it would “proceed remotely” and would be limited to one hour. This relief is limited and,
in order to receive it, USVI must be able to identify a purportedly late-produced document and
explain how the allegedly untimely production of that document prejudiced its ability to effectively
cross-examine a witness at that witness’s deposition. This was not an invitation, as USVI seems
to believe, to make broad demands for new depositions or new requests for document production.

USVI’s application is premised almost entirely on a single document. That document,
JPM-SDNYLIT-00901998, Dkt. 172-4, is an “e-comms summary” created in October 2019. This
is after Epstein’s arrest on sex trafficking charges and his suicide in a jail cell

. That
review raised some questions about emails between Epstein and Jes Staley, who had left JPMC in
2013. The employees who created the summary had no contemporaneous knowledge of Epstein’s
banking relationship with JPMC or any other facts at issue in this case. They gathered emails
between Epstein and Staley and prepared a summary of 222 email exchanges (including a handful
that did not involve Staley). Because JPMC prioritized, as plaintiffs requested, the production of
documents from witnesses who were being deposed, and the custodian of this document was not

I 1,652 documents out of 82,000 were produced in the last week and only two documents—

which had been withheld due to a coding error—were produced shortly after the deadline. And
while USVI notes that this included 115,000 pages, it does not explain that over 80% of these
pages came from massive, urelevant spreadsheets containing confidential information from
thousands of JPMC customers with no relevance to these cases and therefore requiring extensive
redactions. Nor that Plaintiffs were told repeatedly about documents of this type and informed,
without objection, that they would be deprioritized in favor of producing relevant, substantive
documents. Tellingly, USVI does not seek any relief related to these spreadsheets.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 3 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 3

being deposed, the summary was produced on May 28, 2023. But notwithstanding all the bluster
from the USVI about how crucial it would have been to their case to be able to question these
deponents on these documents, in fact, 216 of the 222 emails had been produced long before. In
fact, more than 200 of them were produced in February and March, prior to any depositions in this
matter, and were, in fact, reproductions of the same documents JPMC produced to USVI in
response to a third-party subpoena over a year ago. Indeed, USVI used many of those emails in
depositions.”

Nor was the production of the summary document itself untimely. JPMC’s discovery
efforts involved running over 350 search terms, reviewing, and ultimately producing documents
stretching across a 20-year period, multiple computer systems, back-up systems, and back-up tape
repositories. Further—in addition to the 25 custodians whose documents JPMC agreed to search
in its initial ESI agreement with plaintiffs—JPMC also agreed to conduct an additional collection,
review, and production for custodians

supplemental, the review of their documents followed the review of documents for the original 25
custodians. Further, these documents required
meticulous review and,
significant redactions. As USVI also knows—because it was done at USVI’s
request—JPMC prioritized the search, review, and production of underlying documents from
custodians who had been noticed for depositions. Thus, that JPMC did not produce until later in
the discovery period a 2019 summary (of already-produced documents) pulled from the custodial
file of an individual with no first-hand knowledge of the relevant facts who was not among the
custodians USVI requested is neither surprising nor improper.

II. Argument

USVI seeks four different forms of relief based on the email summary: (1) to re-open
Jamie Dimon’s deposition; (2) to re-open the 30(b)(6) deposition of Francis Pearn; (3) to issue a
new deposition notice to former JPMC employee Howard Maleton; and (4) to serve a broad set of
new document requests that implicate a number of unspecified individuals that were not part of
the parties’ negotiated ESI search. USVI, however, has not demonstrated any prejudice resulting
from the production of the “e-comms summary” on May 28, 2023, let alone something sufficient
to warrant any of its requested relief. Moreover, much of the relief it seeks plainly goes far beyond
the scope of the Court’s authorization.

Following Plaintiffs raising this issue, JPMC voluntarily searched for the other six. Five
were produced to plaintiffs in a supplemental production prior to the filing of these motions. Only
one—a brief, irrelevant exchange with non-custodian Maurice Sonnenberg regarding the use of
biology for foreign code breaking efforts—has not been located. See Dkt. 172-4 at -004.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 4 of 10

WILMERHALE
Hon. Jed S. Rakoff
June 9, 2023
Page 4
A. Dimon Deposition

There is no basis to re-open Mr. Dimon’s deposition. In a full-day deposition in which
JPMC gave Plaintiffs more time for record testimony with Mr. Dimon than the 5-hours the Court
allowed, Mr. Dimon made crystal clear that he had no contemporaneous knowledge or
understanding of Jeffrey Epstein, and that what he now knows came from discussions with JPMC’s
counsel following Epstein’s 2019 arrest or in connection with this litigation. Ex. 1, Dimon Tr.
83:8-13, 85:12-86:14, 87:16-24, 249:21-25, 251:17-25. USVI points to no custodial document of
Mr. Dimon’s as a basis to re-open the deposition, nor any document that Mr. Dimon actually saw.
Instead, it relies on the “e-comms summary” as basis to claim it needs to examine him for even
longer. That argument is meritless for the following reasons.

First, neither the “e-comms summary” itself nor the cover email to which it was attached
have any independent substance or relevance, as it relates to plaintiffs’ deposition of Mr. Dimon.
Most notably, USVI adimits, as it must, that it has long had access to the key documents in the
summary, including the ten documents that reference Mr. Dimon, none of which come from his
own custodial files. All 10 documents, in fact, were produced to Plaintiffs in February. And at
his deposition, Plaintiffs questioned Mr. Dimon about a number of these documents. See Ex. 1,
Dimon Tr. 155:15-162:5, 249:4-250:15; Ex. 2 (Dimon Ex. 11); Ex. 3 (Dimon Ex. 101). In other
words, USVI had in its possession for months before his deposition the substantive
communications referencing Mr. Dimon.

Second, because USVI is unable to argue that it did not have any of the summarized emails
that reference Mr. Dimon, it attempts to argue that the “summary and its cover email have
independent significance” because the “e-comms summary was prepared as part of Project Jeep,”
which USVI speculates, “may have been ordered by Dimon himself, not the legal department.”
But Mr. Dimon already testified that he did not recognize the name “Project Jeep,” see Exhibit 1,
Dimon Tr. 386:7-387:18, and that after Mr. Epstein’s arrest and death in 2019, he instructed
JPMC’s current general counsel to “[d]o everything” to determine the facts and circumstances
regarding Epstein’s relationship with JPMC and to “understand all the issues.” See Ex. 1, Dimon
Tr. 221:22-224:6, 229:16-230:8. USVI provides no basis to question Mr. Dimon’s testimony
beyond speculation that the phrase “[t]op of the house,” which is referenced in a 2019 email from
a senior compliance officer months earlier, might mean that Mr. Dimon made the request.* As
Mr. Dimon testified, he did not make any such request. Moreover, Mr. Dimon did not receive

3 Though USVI includes a 2008 email, involving entirely different people, to suggest that

“top of the house” refers to Mr. Dimon, it neglected to include a follow-up email sent 8 minutes
later that makes clear the reference to “top of the house” referred to Mr. Cutler, JPMC’s then-
General counsel. See Ex. 13, JPM-SDNYLIT-00892562.

a In addition, the author of the email has confirmed that his reference was to the current
General Counsel, Stacey Friedman, and not Mr. Dimon.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 5 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 5

the document as evidenced by its absence in his custodial files, which were searched in discovery.
Even if he had, anything Mr. Dimon would have learned through this hearsay created in October
2019, after Epstein’s death, would not be relevant to USVI’s claims.

Finally, the “e-comms summary” does not provide any basis to reopen Mr. Dimon’s
deposition to question him about any alleged “Epstein referrals.” Contrary to the USVI’s claims,
the ‘“e-comms summary” in no way “confirmed” a series of Epstein referrals to JPMC. Rather, it
summarizes communications almost entirely between Epstein and Staley in which Epstein
routinely referenced high-profile figures in connection with a wide variety of subjects. In any
event, USVI had each of the underlying communications months in advance of Mr. Dimon’s
deposition. There is nothing new here with respect to alleged “Epstein referrals.” And, as USVI
admits, USVI specifically asked Mr. Dimon questions about several of these alleged referrals,
including Boris Nikolic, see Ex. 1, Dimon Tr. 395:14-21, Bill Gates, see Ex. 1, Dimon Tr. 392:8-
15, Peter Mandelson, see Ex. 1, Dimon Tr. 251:17-252:9, Leon Black, see Ex. 1, Dimon Tr.
243:24-244:8, and Ehud Barak, see Ex. 1, Dimon Tr. 252:18-253:4. USVI has not articulated any
argument as to how the “e-comms summary” contradicts Mr. Dimon’s clear testimony or in any
way would have affected their questions to Mr. Dimon about these alleged “Epstein referrals.”

B. JPMC 30(b)(6) Deposition

USVI’s request to reopen its 30(b)(6) deposition of JPMC’s corporate designee, based
entirely on communications between Epstein and Staley summarized in the “e-comms summary,”
is similarly without merit and should be denied. USVI argues that these communications between
Epstein and Staley evidence client referrals on which USVI should be allowed to question a
corporate designee. As explained above, the USVI’s characterization of these communications is
incorrect and does not warrant reopening the 30(b)(6) deposition for at least four reasons.

First, as JPMC has already explained, each of these communications has long been in
USVI’s possession and were produced to USVI in response to a third-party subpoena well before
this litigation began. USVI had them when they first noticed a 30(b)(6) deposition, when they
agreed to accept a written interrogatory response in lieu of testimony with respect to Epstein
referrals, and for the two months after it took that 30(b)(6) deposition prior to the close of fact
discovery. Indeed, USVI has not even bothered to articulate a basis on which any of these long-
since produced documents, or the rote summary of them contained in the “e-comms summary,”
would warrant another hour with a corporate designee.

Second, as noted above, none of the communications between Epstein and Staley in which
Epstein made references to high profile individuals about a range of subjects contain any evidence
that Epstein referred those individuals to JPMC or that those individuals became clients of JPMC
on the basis of Epstein’s supposed referral.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 6 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 6

Third, USVI agreed months ago to accept written interrogatory responses in lieu of
testimony from a 30(b)(6) witness on the question of referrals from Epstem, which JPMC provided
and has since supplemented. JPMC’s 30(b)(6) designee therefore, with USVI’s explicit consent,
did not provide testimony on this topic as part of the USVI’s notice.°

Cc: Howard Maleton Deposition

USVI’s request to serve a new deposition notice to depose Howard Maleton should be
rejected. At the threshold, this request is beyond the scope of relief USVI is permitted to seek
under the Court’s May 31, 2023, Order, which only permitted applications seeking to “recall” a
previously noticed and deposed witness based on the purportedly untimely production of
documents that could have been used at the prior deposition. This request is clearly not that.
Instead, it is a request to add a new deponent, one about whom USVI has known since April 14,
2023, when Mr. Maleton was disclosed in an interrogatory answer as among those who

lll that USVI claims are critical because, they supposedly reflect when
JPMorgan’s alleged misconduct ceased, see Dkt. 119, § 91. JPMC produced that answer 8 days

, to all parties in this action.

Despite the purported significance of , and USVI’s knowledge that they were
part of “Project Jeep” which it now tries to mythologize as something secretive and special, in the
month and a half of discovery that followed JPMC’s interrogatory answer, USVI did not try to
depose anyone who was involved . USVI now openly resorts to gamesmanship
by arguing that based on documents produced in the last “two weeks” of discovery that Mr.
Maleton is “the appropriate deponent” to examine “out of the 28 people” JPMC disclosed in its
April 14 interrogatory answers. That is a determination USVI could, and should, have made prior
to the end of discovery. At the very least, if USVI truly believed that Project Jeep information was
probative of their claims, they could have sought to depose someone from the list JPMC provided
six weeks before the end of fact discovery.

There is simply no reason to give USVI a do-over now. That is especially so as Mr.
Maleton has no firsthand knowledge of facts related to the time when Mr. Epstein was a customer
of JPMC. He is not a percipient witness as to facts from the relevant time period. Instead, he has
exactly the same level of knowledge as counsel for USVI: secondhand, post hoc information
derived from a review of historical documents years after Epstein was exited from the bank and

a JPMC did provide Rule 30(b)(6) testimony to Doe pursuant to a notice served well after

JPMC responded in writing to USVI. Doe has not joined this request.

S Mr. Maleton is no longer employed by JPMC, having departed the company for another
position in August 2022. USVI’s request is therefore even further afield, seeking to depose a third-
party witness after the close of fact discovery.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 7 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 7

well after his highly publicized death. Since USVI has access to all of the same information that
Mr. Maleton had—and has had that primary source information for months—it has provided no
justification for its request to depose Mr. Maleton.

D. USVI’s Belated Request To Expand Document Discovery

USVI’s final request—that it be allowed to serve new document requests for five broad
categories of documents and require JPMC to search decades of email and other custodial
documents for new custodians—should be denied. To begin with, this request is well beyond the
limited scope of the applications authorized by the Court, which permitted USVI to submit an
application to re-depose specific witnesses remotely for one hour based on the production of
specific documents. The Court did not invite briefing on broad requests for the production of
documents more than a week after the close of fact discovery. For that reason alone, USVI’s
request is untimely, improper and should be denied.

In addition, Bear Stearns is not relevant. JPMC acquired Bear Stearns in a rescue
acquisition during the 2008 financial crisis and, along with many other Bear Stearns customers, a
brokerage account of Mr. Epstein. Bear Stearns did not provide banking services and ceased to
exist after the transaction. This case has never been about Epstein’s trading of securities in a Bear
Stearns related brokerage account. This case has unequivocally been about JPMC’s provision of
banking services to Epstein, namely JPMC allegedly facilitating Epstein’s crimes by providing
him bank accounts through which he withdrew cash and made wire payments. Dkt. 119, 96
(alleging that JPMC “fail[ed] to comply with federal banking regulations” by facilitating “wire
and cash transactions . . . that raised suspicion of—and were in fact part of—a criminal enterprise
whose currency was the sexual servitude of dozens of women and girls in and beyond the Virgin
Islands”); id., 4104 (alleging JPMC breached the TVPA “by facilitating payments to women and
girls, channeling funds to Epstein to fund the operation, and concealing criminal conduct by failing
to comply with federal banking law”). Those allegations plainly do not implicate securities
trading. Nevertheless, JPMC has produced records of Epstein’s securities trading, which are
reflected on JPMC’s OMNI client management platform and identified on the OMNI account
statements and transaction data JPMC has already produced. In addition, on February 1, 2023,
JPMC produced in this case 728 pages of available Epstein account statements associated with his
Bear Steams accounts from August 2008 through March 2014. See Ex. 4JPM-SDNYLIT-
00098108.

Moreover, USVI cannot seriously claim that it was surprised to learn Epstein had a
relationship with Bear Stearns that continued after the acquisition in 2008. Prior to filing this case,
USVI was involved in multi-year litigation with the Epstein estate in which it took extensive

a Because of the length of this document, JPMC has included only a representative excerpt

as an exhibit.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 8 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 8

discovery of Epstein’s representatives and documents and served numerous third-party subpoenas,
including one to JPMC. Through that discovery, USVI was, before this litigation began, fully
aware of Epstein’s brokerage relationship with Bear Stearns. For example, JPMC first produced
Epstein’s Bear Stearns account statements on August 2, 2021, in response to USVI’s third-party
subpoena.* See Ex. 4, JPM-SDNYLIT-00098108. And even earlier, on September 16, 2020,
JPMC produced a May 2009 Due Diligence Report (“DDR”) that clearly and unambiguously
reported “Bear Stearns will hold the brokerage relationship with Mr. Epstein.” See Ex. 5, JPM-
USVI-00000465. USVI’s actual knowledge is also evident from the fact that it has asked many
deponents about Bear Stearns, including about the May 2009 DDR. See, e.g., Ex. 6, Casey Tr.
389:8-391:12°; Ex. 7, Cutler Tr. 212:1-214:14, 219:24-235:21, 247:7-251:8, 258:7-22; Ex. 1,
Dimon Tr. 396:12-397:4; Ex. 8, Erdoes Tr. 81:23-82:19; Ex. 9, Langford Tr. 358:6-9, 388:10-
389:1. In addition, on a meet and confer call on April 18, six weeks before the end of fact

discovery, counsel for USVI sought revenue information for Epstein outside JPMC’s Private Bank,
including from “Bear Sterns.” Ex. 10, April 17, 2023 email from Mimi Liu to John Butts.

That knowledge belies USVI’s feigned surprise that no Bear Stearns custodians were
included in the ESI search protocol it negotiated. If it believed Bear Stearns was relevant, USVI
had full opportunity to articulate their relevance and seek inclusion of Bear Stearns employees as
ESI custodians. After lengthy negotiations, plaintiffs together selected more than half of JPMC’s
ESI custodians, and never asked for any Bear Stearns custodians. USVI cannot now complain that
it was somehow in the dark about Epstein’s relationship with Bear Stearns. It knew from its
extensive litigation with the Epstein estate, that Epstein was a Bear Stearns customer before and
after JPMC’s acquisition. USVI also had ample notice of its former executive, Alan C.
Greenberg’s relationship with Epstein and his role at Bear Stearns, which had been public
knowledge since, at the latest, 2003 when it was included as part of Vanity Fair’s “The Talented
Mr. Epstein” article about which USVI has also questioned multiple witnesses. See Ex. 11,

8 This document was initially produced in response to USVI’s third-party subpoena as JPM-

USVI-00089427.

a USVI specifically questioned Ms. Casey about this document, which they have had for
more than two-and-a-half years and was reproduced in this litigation as JPM-SDNYLIT-
00037171. When counsel for USVI began referencing this language about Bear Stearns, she
withdrew her question and instead stated: “Yeah, I really don’t have a question on Bear Stearns.”
Ex. 6, Casey Tr. 391:10-11.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 9 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 9

Talented Mr. Epstein article; see also Ex. 6, Casey Tr. 54:5-19, 56:7-58:22; Ex. 7, Cutler Tr. 45:17-
47:2; Ex. 12, Pearn Tr. 216:7-221:21.'°

USVI also cannot claim surprise that following Epstein’s guilty plea in 2008, people from
legacy Bear Stearns, including Mr. Greenberg, in connection with post-acquisition transition of
accounts, may have attempted to speak with Stephen Cutler, then JPMC’s General Counsel, about
application of JPMC’s corporate policy requiring approval of its General Counsel (or Chief Risk
Officer) to retain a brokerage account for a client with a felony conviction. That decision, which
was made by Mr. Cutler, has been the subject of intense document discovery, including a search
of Mr. Cutler’s custodial files, and depositions, including a deposition of Mr. Cutler. There is no
reason to expand it further to cover duplicative documents for a legacy Bear Stearns’ employee’s
side of communications to Mr. Cutler. The same is true of USVI’s other duplicative requests such
as emails about Epstein between Mr. Greenberg and Mr. Dimon, Mary Erdoes, Jes Staley, Stephen
Cutler, or Jonathan Schwartz. With the exception of Mr. Greenberg, they are all ESI custodians,

id USVI suggests that because it now believes, after the close of fact discovery, that Bear

Stearns documents are relevant, JPMC was obligated to identify search terms and custodians that
would have produced these documents back in February. That is, of course, incorrect. As the
cases cited by USVI make clear, Rules 26 and 34 of the Federal Rules of Civil Procedure “require
parties to conduct a reasonable search for documents that are relevant to the claims and defenses.”
Raine Grp. LLC v. Reign Capital, LLC, 2022 WL 538336, at *1 (S.D.N.Y. Feb. 22, 2022)
(emphasis added) (noting that “[s]earching all files of all employees of Plaintiff [] 1s certainly
overbroad”). The applicable standard with respect to ESI discovery is not perfection, it is whether
the search is reasonable and proportional. Blackrock Allocation Target Shares: Series S Portfolio
v. Bank of N.Y. Mellon, 2018 WL 2215510, at *7 (S.D.N-Y. May 15, 2018) (collecting cases).
“[A] party requesting discovery may not be entitled ‘under the rules of proportionality, to every
single [relevant] document.’” /d. (quoting Jn re Morgan Stanley Mortg. Pass-Through Certificates
Litig., 2013 WL 4838796, at *2 (S.D.N.Y. Sept. 11, 2013)). The Rules required JPMC “to search
custodians and locations it identifie[d] on its own as sources for relevant information.” Raine Grp.,
2022 WL 538336, at *1. It did so, and more, throughout fact discovery in this case, searching the
emails of nearly 60 custodians, many over a 20-year period, applying more than 350 search terms
and producing 82,000 documents across over 70 separate productions. The cases cited by USVI,
one of which involves a dispute over search terms applicable to six identified custodians, see Raine
Grp., 2022 WL 538336, at *2, and another in which the universe of discovery comprised a couple
hundred documents and involved repeated violations of court orders, see Gardner-Alfred v. Fed.
Reserve Bank of N.Y., 2023 WL 3495091, at *7 (S.D.N.Y. May 17, 2023), are completely
inapposite and have no bearing on JPMC’s discovery obligations in this case.
Case 1:22-cv-10904-JSR Document187 _ Filed 06/15/23 Page 10 of 10

WILMERHALE

Hon. Jed S. Rakoff
June 9, 2023
Page 10

and they do not have responsive communications with Mr. Greenberg." Finally, the fact that Mr.
Greenberg was apparently willing to speak to Epstein in January 2011 is irrelevant and no basis to
re-open and expand discovery. There is no evidence that Mr. Greenberg had anything to do with
Epstein’s accounts at the Private Bank or had discussions within anyone relating to keeping or
exiting Epstein in 2011 (or ever).

III. Conclusion

The Court has repeatedly cautioned that it will not grant extensions of time or allow
further delays in the schedule that would jeopardize the trial date in this case. As it stands, fact
discovery in this matter for both Doe and USVI is over. Expert discovery ends in three weeks,
with motions for summary judgment due shortly thereafter. The USVI should not be allowed to
unnecessarily reopen discovery at this late stage.

Respectfully submitted,

/s/ John J. Butts
John J. Butts

cc: Counsel of record

a Other requests are also irrelevant and would only serve to add to an already lengthy

privilege log, such as USVI’s request for emails or documents relating to Epstein’s litigation
against Bear Stearns.
